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12
                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )
17                                                     )   [REDACTED] EXHIBITS IN
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
                                                           SUPPORT OF PLAINTIFFS’
18   OF THE UNITED STATES, et al.,                     )
                                                       )   RESPONSE TO DEFENDANTS’
19            Defendants.                              )   FIRST JUVENILE COORDINATOR
                                                       )   REPORTS VOLUME 10 OF 12
20
                                                           [FILED UNDER SEAL PURSUANT
21                                                         TO ORDER OF THE COURT
22
                                                           DATED JULY 16, 2018]

23                                                         [HON. DOLLY M. GEE]
24                                                         Hearing: July 27, 2018
                                                           Time: 10 AM
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                                     CERTIFICATE OF SERVICE
1
           I, Peter Schey, declare and say as follows:
2

3          I am over the age of eighteen years of age and am a party to this action. I am
4
     employed in the County of Los Angeles, State of California. My business address is
5
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7          On July 19, 2018, I electronically filed the following document(s):
8
        • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9         DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10        10 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
          COURT DATED JULY 16, 2018]
11

12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14

15   served by the CM/ECF system.
16                                                /s/Peter Schey
                                                  Attorney for Plaintiffs
17

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